Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.345 PdjbEB 2KZ
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U.S. DISTRICT COURT
WESTERN DISTRICT OF nce A
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MCHIGAN

NATHANIEL SPENCER III
Plaintiff.

Case No 1:18-cv-194

vs

EXPERIAN INFORMATION

SOLUTIONS, INC.; TRANS UNION,

LLC; EQUIFAX, INC.; EQUIFAX

INFORMATION SERVICES, LLC
Defendants

TRIAL BY JURY DEMANDED

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PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS
EQUIFAX, INC. AND EQUIFAX INFORMATION SERVICES, LLC
MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
FOR FAILURE TO SATE A CLAIM UNDER RULE 12(b)(6)

NOW COMES Plaintiff, Nathaniel Spencer III and hereby asks this court to deny
Defendant’s Motion to Dismiss for Failure to Sate a Claim Pursuant to Federal Rule of Civil
Procedure 12(b)(6) and sates as follows.

INTRODUCTION

Plaintiff filed his Original Complaint alleging violations of the Fair Credit Reporting Act
(FCRA) 15 U.S.C. § 1681 g(a)(1) against Experian Information Solutions, Inc. (Experian), Trans
Union, LLC. (Trans Union) and Equifax, Inc (Equifax). Experian and Tans Union answered the
original complaint while Equifax filed a motion to dismiss. Plaintiff then filed a Motion for
Leave to File his First Amended Complaint alleging violations of the same statute against the
same Defendants and added Equifax Information Services, LLC (EIS) as an additional
Defendant. That motion was granted and the First Amended Complaint was docketed on April
13", 2018 [Doc. 16] Equifax’s motion to disrniss Plaintiffs Original Complaint was Dismissed
as Moot [Doc.25]. Equifax, Inc. and EIS (Efx. Defendants) filed a joint Motion to dismiss
Plaintiff's First Amended Complaint [Doc. 23] and Breif in support [Doc. 24] on May 1*, 2018.

Complaint for Violations of the FCRA Page | of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.346 Page 2 of 26

Plaintiffs claim is clearly for the violation 15 U.S.C. 1681g(a)(1)! Plaintiff alleges
Equifax Inc. is in violation of 1681x? “Corporate and technological circumvention prohibited...
to prevent a consumer reporting agency from circumventing or evading treatment as a consumer
reporting agency...” as it operates as a Consumer Reporting Agency as defined in § 1681a(p)°
“means a consumer reporting agency that regularly engages in the practice of assembling or
evaluating, and maintaining, for the purpose of furnishing consumer reports to third parties...”
and §1681a(f)* in everyday business yet it claims not to be a Consumer Reporting Agency in
certain situations for example to avoid litigation. Plaintiff has shown in his First Amended
Complaint that Equifax conveniently interchanges the names of it’s various entities using just the
name “Equifax” when it suits its needs in it’s communication with consumers indicating an
attempt to conceal the fact that Equifax, Inc. and subsidiaries operate as one CRA rather than
operating as separate and distinct entities which they hold themselves out to be to the public,
shareholders and regulators in violation of 15 U.S.C. § 1681x and 12 CFR 1022.140°. making
the Defendant EFX liable for damages for noncompliance with 15 U.S.C. § 1681 g(a)(1).

On the first page of Defendants 1 response what is displayed in the address window is
Www.Equifax.com/fcra not EIS and in big bold letters at the top of this first page it says
EQUIFAX, of course the link shown in the address window takes you directly to the EIS
website, Right? Wrong, it takes you to an Equifax website’. At the top of this webpage you will
see Equifax Free and Discounted Disclosures NOT EIS if you visit this website, you will see
Copyright Equifax 2018 at the bottom, again NOT EIS. EFX’s 1st response to Plaintiff's 1*
request letter concerning this issue is from Equifax NOT EIS. See Exhibit 1

Moving on to the second page of that same correspondence, in big bold letters at the top
of this page it says Equifax then in the body of the letter it states “... you may be able to initiate

an investigation...complete the enclosed Research Form and return it to... Equifax Information

 

' https://www.gpo.gov/fdsys/pke/USCODE-2010-title 15/pdf/USCODE-2010-title 1 5-chap4 1-subchapIII-
sec1681le.pdf
? https://www.
sec]681x.pdf
3 https://www.gpo.gov/fdsys/pke/USCODE-2010-title | 5/pdf/USCODE-2010-title15-chap4 1-subchapIII-

sec] 681a.pdf

4 https://www.gpo.gov/fdsys/pke/USCODE-2010-title 1 5/pdf/USCODE-20 10-title ] 5-chap4 1-subchaplll-

sec 168 la.pdf

5 https://www.gpo.gov/fdsys/pkg/CFR-2012-title]2-vol8/pdf/CFR-2012-title 12-vol8-sec !022-140.pdf

§ https://aa.econsumer.equifax.com/aad/landing.ehtml (verified on 5-13-18, if you go to this webpage you will see
Copyright Equifax 2018 at the bottom)

o0.20v/fdsys/pke/USCODE-2015-title 1 5/pdf/USCODE-2015-title 1 5-chap41-subchapII-

     

Complaint for Violations of the FCRA Page 2 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.347 Page 3 of 26

Services, LLC....NOTE: Sending the Request Form to any other address will delay the
processing of your request.” [Doc. 16, Ex.3] (note here that it says delay the not negate)
Plaintiff was not requesting an investigation, in Plaintiff's first letter concerning this issue he was
clearly requesting his full consumer file disclosure pursuant to 1681 g(a)(1) [Doc. 16, Exhibit
1]. Equifax did not provide this, they sent a credit report.

Being a reasonable person Plaintiff sent EFX a second letter requesting his full consumer
file disclosure Defendant sent Plaintiff a letter stating “We have received your request for a copy
of your EQUIFAX credit report...” (Again not EIS). Defendants second response is from EIS
but the whole letter deals with how Plaintiff can buy his “disclosure” for a “... processing fee
(currently $11.50)...” [Doc. 16, Ex.3] EIS goes on to explain that several states require that their
residents are able to get more than one free copy of their credit file “.....which is requested
through the Central Source as well as through Equifax.” (not EIS). Then at the end of this
letter EIS provides an address to send his payment too. Plaintiff clearly was not trying to buy his
“.,.Equifax credit report...”. Paintiff’s second letter concerning this issue was clearly requesting
his full consumer file disclosure pursuant to 1681g(a)(1) [Doc. 16, Exhibit 2]. EFX did not
provide this they sent a letter trying to sell Plaintiff his credit report which was not responsive to
Plaintiffs second request for his full consumer file disclosure. [Doc. 16, Ex.3]

oo

Plaintiff did much more than, as defendants counsel states “...repeats statutory language
and offers merely speculative and conclusory allegations that he received a “credit report” when
he requested a full consumer file disclosure.” Plaintiff provided defendants with factually
correct, detailed and fully articulated information in his First Amended Complaint, that included
exhibits supporting his claim. For Example, in Plaintiff's First Amended Complaint (FAC) it
states “Plaintiff had requested and received a full consumer file disclosure from LexisNexis in
January 2018 that contained about 86 pgs. Of consumer information including 10 individual
reports [Doc.16, Ex.6] allot of the information about plaintiff in some of these reports were
sourced from Equifax dating back to 1990.” some of the information provided to LexisNexis by
Equifax was not provided to Plaintiff upon his lawful request of his full consumer file disclosure.
Plaintiff wrote two letters clearly articulating his request citing the exact language of the
statute which MANDATES’ Defendant to comply with his request for his full Consumer File
Disclosure [Doc. 16, Ex 1-2] giving the defendant more than “adequate notice” to comply with

his requests pursuant to 15 U.S.C. § 1681g(a)(1). Contrary to Defendant’s argument F.R.C.P.

Complaint for Violations of the FCRA Page 3 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.348 Page 4 of 26

8(a)(2) does not require Plaintiff prove his case at the notice pleading stage but that each claim
include a “short and plain statement...showing that the pleader is intitled to relief.” The claims
must include enough factual allegations “to raise a right to relief above the speculative level.”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Plaintiff's FAC should not be dismissed
because it states a plausible cause of action under Twombly and F.R.C.P 8(a)(2).

STANDARD OF REVIEW

When considering Defendant’s motion, the court must construe the factual allegations in
the complaint in the light most favorable to the Plaintiff. In re Stac Elecs. Sec. Litig., 89 F.3d
1399, 1403 (9" Cir. 1996); Jones v. General Elec. Co., 87 F.3d 209, 211 (7" Cir. 1996). Only if
no possible construction of the alleged facts will intitle Plaintiff to relief should the court grant
Defendant’s motion. Hishon v. King & Spalding, 467 U.S. 69, 73, 104 S. Ct. 2229, 2232 (1984).
The issue is not whether a Plaintiff will ultimately prevail, but whether the claimant is entitled to
offer evidence to support the claims. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “The
question therefore is whether in the light most favorable to the Plaintiff and with every doubt
resolved in his behalf, the complaint states any valid claim for relief.” Beanal v. Freeport
McMoran, Inc., 197 F.3d 161, 164 (5" Cir. 1999). The court “should view the complaint in the
light most favorable to the plaintiff.” Mylabs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4" Cir. 1993).
If the factual allegations in Plaintiff’s complaint support any legal theory that entitles Plaintiff to

 

some relief, the court should overrule Defendant’s motion.

ARGUMENTS AND AUTHORITIES

I. Equifax Is Not a Consumer Reporting Agency.

The standard here is that Plaintiffs detailed factual allegations must be accepted as true
and, as shown below, demonstrate that Plaintiff has stated a claim under the FCRA for the relief
he has requested. The disputes raised by Defendant’s are not legal, but factual. Plaintiff is not
required to provide in full detail all facts that might be submitted on summary judgement or at
trial. A complaint is sufficient if it contains “a short and plain statement of the claim showing
that the pleader is entitled to relief[.]” F.R.C.P. 8(a)(2). Plaintiff has alleged sufficient detail by

which the Defendants can answer and the Court can determine the plausibility of his claim.

Complaint for Violations of the FCRA Page 4 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.349 Page 5 of 26

Equifax, Inc. operates its business hyping itself as “one of the big three” CRA’s along
with Exeprian and TransUnion. Legislators obviously recognize Equifax, Inc. is a CRA as
evidenced by the letter from Congress to Equifax, Inc. dated Feb. 20, 2018. [Doc. 16, Ex.5] In
fact King & Spalding itself on behalf of Equifax, Inc. sent a letter to the State Attorney General
of all the State’s regrading the data breach in 2017 the letter refers to Equifax, Inc. not a data
breach of Equifax Information Services, LLC’s database. See Exhibit 2. There is no mention
that another company’s database was hacked or that a company other than Equifax, Inc. owns
and maintains the database. It is not only a matter of how the company is organized but more
importantly how the information in the multiple consumer databases under Equifax, Inc.’s
control is used by various entities.

Equifax, Inc. does not identify on it’s webpage to consumers, regulators and the public at
large that EIS is the CRA but that is where consumers are sent to obtain credit reports. Each
webpage uses only the name “Equifax” with the Equifax logo at the top of the page while at the
bottom of each page in the copyright notice it clearly states “Copyright Equifax, Inc. 2018””
[Doc. 16, Ex. 4] Equifax’s web pages refer to “your Equifax credit report” rather than your
Equifax Information Services, LLC (EIS) credit report. There is no reference to EIS being the
provider of an “Equifax credit report” Equifax, Inc. is very consistent in it’s use of only the word
“Equifax” it’s communications both on the web and in correspondence with consumers, for
example communication with Plaintiff . Exhibit 1 This gives rise to the belief that Equifax, Inc.
is in fact the company providing the information that any customer or consumer would seek or
receive various consumer reports not limited too credit reports.

Which companies under the “Equifax” umbrella are using what information, how it is
being used and accessed, is the major question here to determine whether Equifax, Inc. is in fact
a CRA as alleged by Plaintiff. How they operate is what Plaintiff seeks to bring to light to show
that Equifax, Inc. does in fact operate as a CRA in a factual sense because of it’s concerted
efforts to structure itself through various divisions and/or subsidiaries such as EIS and to allow
those subsidiaries to access the same information to avoid liability which is strictly prohibited
under 15 U.S.C §1681x and 12 CFR 1022.140. The adage, if it looks like a duck, walks like a
duck, quakes like a duck, it’s probably a duck, is very fitting in this case

 

7 https://www.equifax.com/personal/products/credit/report-and-score/ (last visited on 05/15/18), see also
https://www.equifax.com/personal/ (last visited on 05/15/18),

Complaint for Violations of the FCRA Page 5 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.350 Page 6 of 26

Equifax provides case law in support of its motion to dismiss, that Equifax, Inc. is not a
CRA such as McDonald v. Equifax Inc.,and Ransom v. Equifax, Inc., neither case is analogous or
comparable to Plaintiff's case at this stage of litigation as both Plaintiffs were disputing specific
information in their credit report and the decisions for both Plaintiff's cases were made at the
summary judgement stage of their cases. Mr. Spencer’s claim is clearly not about disputing
information in his credit report and we are not at the summary judgement stage of Mr. Spencer’s
case. It is improper to use cases that were adjudicated in summary judgement in support of a
motion to dismiss. Defendant Euifax, Inc. went on list other cases Greear v. Eufax, Inc.,
Channing v. Equifax, Inc. and Slice v. Choicedata, Consumer Servs., Inc., Persson v. Equifax
Inc. and Weiler v. Equifax, Inc.’ Dismissal was granted at summary judgement in those cases
also. Judge Lauck stated, “However, every decision cited by Equifax, Inc. was rendered at the
summary judgement stage...Further, in each of the cases cited above, the plaintiff proceeded pro
se or failed to oppose the motion. Such rulings cannot provide persuasive support for the
Defendants’ position at the Motion to Dismiss stage.” In the Memorandum Opinion denying
Equifax, Inc.’s motion to dismiss. Jones v. Equifax, Inc. U.S. District Court for the Eastern
District of Verginia 3:14-cv-00678 (Aug. 27, 2015) Doc. 54 fn 11. This case should proceed
allowing the facts to be discovered and presented rather than hidden which is clearly the desire of
the EFX Defendants.

Plaintiff alleges Equifax, Inc. violated 15 U.S.C 1681 § g(a)(1). The letters that Plaintiff
wrote are far from ambiguous, they clearly state Plaintiffs requests for his Full Consumer File
Disclosure [Doc. 16, Ex.1-2] EFX’s responses to Plaintiff's letters is what was ambiguous,
misleading, and completely non-reponsive to Plaintiff requests. As I mentioned earlier contained
on the 1‘. page of the first letter received by Plaintiff the Court will see in the address window of
this correspondence Www.Equifax.com/fcra, Atlanta GA 30348, then in big bold letters across
the top of the page it says EQUIFAX not EIS, Exhibit 1.

In the second page of this document it clearly states “Using the Internet to initiate an on-
line investigation request will expedite the resolution of your concerns. Or you may complete the

enclosed Research Request Form and return it to....” The letter goes on to list the address of

 

® Efx. Defendants attached three Exhibits to their filing [Doc.24] to support their position however all three are
problematic; in Frihat v. Citimortgage, Inc. (Ex.1) the plaintiff failed to prosecute or counter Defendant’s arguments;
in Persson v. Equifax Inc. (Ex.2) the plaintiff failed to counter Defendants arguments or to amend complaint; in
Weiler v. Equifax Inc. (Ex.3) the Plaintiff failed to dispute Defendant’s evidence at all.

Complaint for Violations of the FCRA Page 6 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.351 Page 7 of 26

Equifax Information Services, LLC (EIS) [Doc. 16, Ex.3] Mr. Spencer’s first letter was not
disputing information in his credit report, why would he send his second letter requesting a full
consumer file disclosure to an address clearly related to a request for an investigation?

It is perfectly logical and reasonable for Mr. Spencer to send his second letter to Equifax
as this is who sent him the first response letter and his credit report. I would like to mention
at this point, if Mr. Spencer sent his initial letter to the wrong entity to get his disclosures who
sent Plaintiff the credit report that came along with Equifax’s first response letter?

Moving on to the Second letter that EIS sent Plaintiff. In EFX’s motion to dismiss
Plaintiffs First Amended Complaint (FAC) EFX’s counsel cleverly takes quotes out of context
thus distorting their meaning, for example counsel uses the following quote from Plaintiffs FAC,
“letter stating in part he was not eligible for a free copy of his credit file” [Doc. 24, pg.7],
counsel conveniently fails to mention that later in that very same paragraph of Plaintiffs FAC
Plaintiff goes on to quote EIS’s response to Plaintiff's second letter, “....in addition to the
Annual Free copy which is requested through the Central Source as well as through
Equifax...” not EIS [Doc. 16, 4 31,]., according to EIS’s own letter sent to Mr. Spencer Equifax
admits to providing consumer information to consumers. [Doc. 16, Ex. 3] Then Defendant EFX
goes on to take the bottom portion of EIS’s response to Plaintiffs second letter and leaves out
the majority of the letter which was an explicit attempt by EIS to sell Plaintiff a credit report
which was completely non-responsive to Plaintiffs clear requests for his full consumer file
disclosure. [Doc. 16, Ex.3]

Upon information and belief the first letter was sent by Equifax putting fourth EIS as the
investigating entity of Equifax and the second letter was sent by EIS and was providing Plaintiff
with information about where to purchase his credit report from, neither of EFX’s responses to
Plaintiff's clear requests said anything about where Plaintiff should send his letters to receive his
full consumer file disclosure pursuant to 15 U.S.C. § 1681g(a)(1). Plaintiff has provided more
than enough information supporting his claim at this juncture of litigation by which the
Defendants can answer, and the Court can determine the plausibility of his claim.

Equifax, Inc. is the parent company of EIS. Plaintiff is not presenting an argument that
the corporate veil should be pierced the issue that Plaintiff is attempting to bring to light is that
Equifax, Inc. Operates as a CRA and therefore it is a CRA pursuant to § 1681a(p) and §
1681a(f), therefore are mandated to comply with § 1681x and 12 CFR 1022.140 and both

Complaint for Violations of the FCRA Page 7 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.352 Page 8 of 26

CRA’s are mandated to provide Plaintiff with his full consumer file disclosure pursuant to §
1681g(a)(1). This is the real and solid foundation that Plaintiffs claim rests. The fact that
Equifax, Inc. is a CRA is established by determining how the data in Euqifax, Inc.’s databases
regarding Plaintiff is used and by whom. The FCRA is very clear on those points. Piercing the
corporate veil is a meritless argument.

Plaintiff's FAC plausibly alleges that Equifax, Inc. and it’s subsidiary EIS operate as a
single unified consumer reporting agency. The EFX defendants operate as a single FCRA
governed “consumer reporting agency” Equifax, Inc. has structured itself in order to warehouse
its sale of credit-reporting consumer reports in one entity and its sale of employment, payroll,
and income records in a second entity. Defendants together maintain a collective set of
databases that-for Defendants’ day to day use are treated as an integrated pool of consumer
information. Each Defendant is a CRA Equifax, Inc. freely transfers data between units and
operates without any impediments of corporate structure. In almost every material regard the
Equifax units operates as if they are one in the same, a single “consumer reporting agency”
Equifax is a “consumer reporting agency” as defined in 15 U.S.C. § 1681a(p) and §1681a(f).

Upon information and belief, Equifax is regularly engaged in the business of assembling,
evaluating, and disbursing information concerning consumers for the purpose of furnishing
consumer reports, as defined in 15 U.S.C. § 1681(d), to third parties. Each of the Equifax
entities is integrated as a single national credit reporting agency, with all databases marketed and
made available to each of Equifax’s customers regardless of structure or category of content.
Defendants operate jointly as a national “CRA” as defined I 15 U.S.C. § 1681la(p) and §
1681a(f). Equifax, Inc. which operates as “Talx Corporation” and “The WorkNumber”, even
states on its own website “Under FCRA, we are a Consumer Reporting Agency and subject to its
requirements.”®

Equifax itself states in its 2016 10K filing “Equifax, Inc. is organized and reports its
business results in four operating segments.'° An “operating segment” is by definition a

component and part of a single corporate entity:

Identification of operating segments

 

* https://www.theworknumber.com/employees/FCRA/index.asp (last visited May 19, 2018)

10 https://www.sec.gov/Archives/edgar/data/33 185/0000033 185 17000008/efx10k2016123 1.htm (last visited May
19, 2018)

Complaint for Violations of the FCRA Page 8 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.353 Page 9 of 26

IFRS 8 defines an operating segment as a component of an entity:
e that engages in revenue earning business activities
e whose operating results are regularly reviewed by the chief operating decision
maker. The term 'chief operating decision maker’ is not as such defined in IFRS8
as it refers to a function rather than a title. In some entities the function could be
fulfilled by a group of directors rather than an individual and
e for which discrete financial information is available.

http://www.accaglobal.com/gb/en/member/discover/cpd-articles/corporate-reporting/ifrs8-
operating.html (last visited May 19, 2018)!!

The S.E.C. financial statement standards are similar:
Under the new accounting standard, an operating segment is a component of a business, for
which separate financial information is available, that management regularly evaluates in
deciding how to allocate resources and assess performance. Specifically, SFAS No. 131 states
that an operating segment is a component of a business:
*that engages in activities from which it may earn revenues

and incur expenses (including revenues and expenses relating

to transactions with other components of the same business);

*whose operating results are regularly reviewed by the

enterprise’s "chief operating decision maker"[15] to make

decisions about resources to be allocated to the segment and

assess its performance; and

*for which discrete financial information is available.
S.E.C. Segment Reporting Final Rules, https://www.sec.gov/rules/final/33-7620.txt (last visited
May 19, 2018). It is not common ownership that matters, but common use of a FCRA-governed
database that determines whether Equifax, Inc. and EIS operate as a consumer reporting agency.
That is a question of fact to be determined through fact evidence rather than being a mater of law
as Equifax, Inc. argues.

EFX may try to deny these factual allegations, somehow. Try as they may the allegations

at this point more than support a plausible claim that the defendants are a single operating CRA.

 

'! The ACCA (The Association of Charted Certified Accountants) is the global body for professional accountants.

Complaint for Violations of the FCRA Page 9 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.354 Page 10 of 26

How Defendants segment their data for marketing and operations purposes is immaterial. An
alleged “EIS” credit report may contain data that Equifax categorizes as “credit reporting” data”
as well as information it categorizes as “WorkNumber” data, and vice versa. How it brands its
reports and what business segment it uses to deliver or sell them is immaterial.

A veil-piercing mindset such as corporation A is not responsible for the debts of
corporation B is not relevant for the question of whether the Defendants operate together as a
CRA. This is brought under federal statute-the FCRA, 15 U.S.C. § 1681, et seq. Determination
as to whether to ignore the corporate veil in determining substantive liability of a party under
federal statute is governed by federal rather than state law as the “doctrine of piercing the
corporate veil is not a mere procedural rule or mere judgement enforcement mechanism, but
substantively determines who is liable” under the federal statute. Thomas v. Peacock, 39 F .3d
493, 500-502 (4" Cir. 1994) (Applying this principal to an EISA action)). The standard adopted
by the fourth Circuit in Thomas was what it described as the “liberal veil-piercing standard”
enunciated by the First Circuit,!* Thomas, 39 F.3d 503-304 citing Alman v. Danin, 801 F.2d 1, 3-
4 (1* Cir.1986) and Town of Brookline v. Gorsuch, 667 F.2d 215, 221 (1* Cir.1981). Thus, for
example, while the state common law threshold could arguably require more, the federal
threshold for finding one entity an alter ego of another includes circumstances in which
“adherence to the corporate fiction [would...] lead to an evasion of legal obligations.” Thomas,
39 F.3d 504 (citations omitted).

Plaintiffs first Amended Complaint in fact provides greater detail and specificity than has
been held necessary under Twombly/Iqbal I in pleading alter ego/veil piercing. For example, in
The flexible Benefits Council v. Feltman, 1:08cv371, 2008 WL 246545, *7 (E.D. Va. 2008),
judge Cacheris rejected a corporate veil Rule 12(b)(6) argument against a Complaint that
principally alleged, “Upon information and belief, all of the above actions were performed in
concert with Defendants Feltman and ECFC, Ltd., as well as with other associates currently
unknown to plaintiff.” Feltman Complaint, { 5. Similar conclusions were reached in cases with
varying degrees of pleading detail. See e.g. Osgood v. Midwest Parking Solutions, 2009 WL
4825192 (E.D. Mo. Dec. 11, 2009) (finding plaintiffs allegations of the individual’s contro] and

 

"The general rule adopted in the federal cases is that “a corporate entity may be disregarded in the interests of
public convenience, fairness and equity,” [citing Capital Telephone Co. v. FCC, 498 F .2d 734, 738 (D.C.Cir.1974].
In applying this rule, federal courts will look closely at the purpose of the federal statute to determine whether the
statute places importance on the corporate form [citations omitted], an inquiry that usually gives less respect to the
corporate form than does the strict common law alter ego doctrine....(Emphasis added)

Complaint for Violations of the FCRA Page 10 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.355 Page 11 of 26

dominance of the corporate entity sufficient to survive a motion to dismiss); Maganallez v.
Hilltop Lending Corp., 505 F. Supp.2d 594 (N.D. Cal. 2007) (denying motion to dismiss alter
ego claim against an individual who controlled the corporate defendant). Indeed, in Maganallez,
the court noted that an allegation “that one of the major shareholders has ‘essentially full
operational control’ over [the defendant] during a specific period of was sufficient to justify
allowing plaintiff to proceed on an alter ego theory.” Ja, At 608 (citing In re Napster, Inc.
Copyright Litig., 345 F. Supp.2d 1113, 1122 (N.D. Cal. 2005)”

Presently, the core dispute is whether BOTH Defendants operate as a “CRA” and are
therefore subject to the FCRA. The FAC alleges that they do. Defendants’ response is that the
Complaint should be dismissed because they claim to have manufactured a corporate structure
that separates Equifax’s data between multiple controlled entities. This is an “evasion of legal
obligations” imposed by the FCRA through “creative” corporate structuring and is prohibited by
FCRA regulations. The Federal Trade Commission, at the time responsible for enforcement of
the FCRA, promulgated regulations almost exactly on point to the EFX. Defendants See 16
C.F.R. Part 611. Part 611 titled “Prohibition Against Circumventing Treatment as a Nationwide
Consumer Reporting Agency” and in relevant part states:

§ 611.2 General prohibition.
(a)A consumer reporting agency shall not circumvent or evade treatment as a ‘‘consumer
reporting agency that compiles and maintains files on consumers on a nationwide basis’ as
defined under section 603(p) of the Fair Credit Reporting Act, 15 U.S.C. 1681a(p), by any
means, including, but not limited to:
(1) Corporate organization, reorganization, structure, or restructuring, including merger,
acquisition, dissolution, divestiture, or asset sale of a consumer reporting agency[.]
16 C.F.R. Part 611.2!*. The FTC examples of prohibited activity precisely fit Equifax, these
include:
(1) Circumvention through reorganization by data type. XYZ Inc. is a consumer reporting

agency that compiles and maintains files on consumers on a nationwide basis. It

 

8 See also Oregon Laborers-Employers Health & Welfare Trust Fund v. All State Industrial, Marine Cleaning, Inc.,
850 F. Supp. 905 (D. Or. 1994), CitiMortgage, Inc. v. NZ, Inc., 2010 WL 1610411 (E.D.Mo, April 21, 2010);
McWilliams Ballard, Inc. v Level 2 Development, --F .Supp.2d---,2010 WL 1068917 (D.D.C. March 24, 2010)
(Applying Virginia Common Law); Trabucco y. Inesa Sanpaolo, S.P.A.,---F Supp.2d---,2010 WL991621, *7-8
(S.D.N.Y. March 19, 2010)

: o.gov/fdsys/pke/CFR-2008-title 16-vol! /pdf/CFR-2008-title 16-voll-sec611-2.pdf

 

Complaint for Violations of the FCRA Page 11 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.356 Page 12 of 26

restructures its operations so that public record information is assembled and maintained
only by its corporate affiliate, ABC Inc. XYZ continues operating as a consumer
reporting agency but ceases to comply with the FCRA obligations of a consumer
reporting agency that compiles and maintains files on consumers on a nationwide basis,
asserting that it no longer meets the definition found in FCRA section 603 (p), because it
no longer maintains public record information. XYZ’s conduct is a circumvention or
evasion of treatment as a consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis, and thus violates this section[...] See Exhibit 3

In applying the federal standard adopted in Thomas v. Peacock, this Court cannot reasonably
conclude the FCRA’s purpose “places importance on the corporate form” to the contrary, the
FCRA expressly cautions that corporate form is irrelevant and that the use of corporate
associations and structures to avoid its application are prohibited.

The Efx. Defendants’ argument also fails for another reason, they are each obligated to
provide the full file on each consumer and the “file” consists not only of information stored in
the database at the defendant’s facility, but all information that could be included in a consumer
report it may sell. The Third Circuit heard and rejected the same argument made by Trans Union
under weaker circumstances-where the separate data that “could be” accessed by Trans Union
was maintained in a database operated by an unrelated third party. The Court of Appeals
rejected that argument:

Trans Union concedes that Cortez requested her credit report on multiple occasions;
nevertheless, it failed to provide her with the HAWK and OFAC alert information on her report.
However, Trans Union again makes an argument similar to that discussed above. It argues that
the OFAC and HAWK information is not part of the consumer's "file" under the FCRA and that,
it was not required to disclose the information to Cortez.

The FCRA defines “file" when used in connection with information on any consumer, as "all of
the information on that consumer recorded and retained by a consumer reporting agency
regardless of how the information is stored." 15 U.S.C. § 1681a(g). Trans Union attempts to
avoid the obvious reach of that language by relying on the fact that the SDN List information

was not part of its database; rather, as explained earlier, that information was separately

Complaint for Violations of the FCRA Page 12 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.357 Page 13 of 26

maintained by Accuity. According to Trans Union, the information should not be considered part
of the consumer's file for purposes of the FCRA. Not surprisingly, Trans Union cites no cases to
support this argument. The argument requires us to ignore that the FCRA specifically provides
that the duty of disclosure applies to "information on [a] consumer... regardless of how the
information is stored." 15 U.S.C. § 1681a(g). We do not believe that Congress intended to allow
credit reporting companies to escape the disclosure requirement in § 1681a(g) by simply
contracting with a third party to store and maintain information that would otherwise clearly be
part of the consumer's file and is included in a credit report.

Congress clearly intended the protections of the FCRA to apply to all information
furnished or that might be furnished in a consumer report. Gillespie v. Trans Union Corp.,
909 (7th Cir.2007). Moreover, as the court in Gillespie noted, "*file' denotes all information on
the consumer that is recorded and retained by a consumer reporting agency that might be
furnished, or has been furnished, in a consumer report on that consumer." Jd. (quoting 16 C.F.R.
pt. 600, app. § 603).

Cortez v. Trans Union, LLC, 617 F.3d 688, 711-12 (3d Cir. 2010) (emphasis added). Thus, when
Plaintiff requested his disclosure from Equifax, even IF it was provided by EIS it was obligated
to provide the full file-to included not only its own credit data, but also the other data it regularly
sells. Either way, Mr. Spencer’s claim is deeply rooted in the realm of reality well pled and
supported by solid evidentiary exhibits, and case law, Plaintiff has more than alleged a plausible
claim.

Even the CFPB has declared in a 2017 Consent Order that Equifax Inc. is in fact subject
to the FCRA! on page 6 under Part IV the Order States:

“Equifax, Inc. is headquartered in Atlanta, Georgia, and compiles and maintains financial,
consumer, and commercial data across the nation and worldwide. Equifax, Inc. is the parent
company of Equifax Consumer Services LLC. Equifax, Inc. is a “covered person” as that term is
defined by the CFPA, 12 U.S.C. § 5481(6).”

Equifax consents to that finding by the CFPB in its Stipulation and Consent'® page 3:

 

'5 https://files.consumerfinance.gov/f/documents/201701_cfpb_Equifax-consent-order.pdf

Complaint for Violations of the FCRA Page 13 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.358 Page 14 of 26

“Equifax agrees that the facts described in Section IV of the Consent Order will be taken as true
and be given collateral estoppel effect, without further proof, in any proceeding before the
Bureau to enforce the Consent Order, or in any subsequent civil litigation by the Bureau to
enforce the Consent Order or its rights to any payment or monetary judgment under the Consent
Order.” (emphasis added)

It seems that the outdated “unbroken line of authority” Equifax cites has been replaced by
more recent regulatory findings and is supported by Equifax’s own legal representatives. Exhibit
2

Il. Mr. Spencer’s FAC Fails to Plead Facts Sufficient to Support a Claim for
Relief Pursuant to § 1681g.

Plaintiff was concise and specific in his first request letter, [Doc. 16, Ex.1] so that there
would be no misunderstanding as to what EXACTLY he was requesting. Instead of what he
requested Plaintiff received a letter describing the action he should take to initiate an
investigation and a credit report. Also as mentioned earlier in Plaintiffs memorandum, “On the
first page of Defendants Ist response, what is displayed in the address window is
Www.Equifax.com/fera not EIS and in big bold letters at the top of this first page it says
EQUIFAX.” Any reasonable person would awesome that the entity that sent them that
correspondence Equifax because that’s who’s information was in the “from” part of the letter.
Exhibit 1.

In order to give Defendant a second opportunity to comply with Plaintiff's request he sent
a second letter with the first letter attached to it [Doc. 16, Ex.2]. Plaintiff sent the second letter
to the entity identified in the “from” portion of the first letter Equifax sent which was EQUIFAX
Exhibit 1. In response to that letter EIS sent information about how the Plaintiff could purchase
his credit report and where to send that request to, which was EIS and was completely
nonresponsive to Plaintiff's request for his full consumer file disclosure.[Doc. 16, Ex. 3]
Plaintiff was not requesting his “credit score, or any other risk scores or predictors relating to the

consumer.” These statements are not conclusory these are statements of FACT supported by

 

'6 https://files.consumerfinance.gov/f/documents/201701_cfpb_Equifax-stipulation.pdf

Complaint for Violations of the FCRA Page 14 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.359 Page 15 of 26

evidentiary Exhibits [Doc. 16 Ex. 1-3]. Plaintiff pleads in detail precisely what he was asking
for, what Equifax failed to do to comply with his request and is supported by Exhibits and should

not be dismissed.

A. “Consumer file is defined as the information contained in a consumer’s credit

report/disclosure”

The Efx Defendants begin by conflating the words disclosure and credit report, arguing
they are synonymous and inserting words into definitions which are not there. The FCRA does
not use the term “disclosure/credit report”. In it’s arguments the Efx Defendants begin by
pointing to the Fair Trade Commission (“FTC”)"’ interpretation of the term “file” and would

mislead the court. The 40 years Commentary, p.71 sates:

“{AJncillary records “such as” “a CRA’s audit trail of changes it makes in the consumer file, billing
records, or the contents of a consumer relations folder, are not included in the term “information in the

consumer’s file.” Jd.

The FTC does NOT state that all a CRA is required to provide in response to a request for a full
file disclosure is a “credit report.” Plaintiff stated clearly in his FAC that he did NOT request any
“TAJncillary records” [Doc. 16, | 47] and this FACT is also evidenced in Plaintiff's FAC [Doc.
16, Ex. 1,2]. A credit report is one type of disclosure which contains credit related information.
However credit related information does not equate to all information contained in a CRA’s files
related to a consumer other than ‘[A]ncillary] records”. Related sections of the FCRA contain
exceptions to what information can be provided in a credit report which is not shared with
consumer!® but can be provided to third parties under certain circumstances.

A traditional credit report by any name never meets the requirement Mandated under the

FCRA at 15 U.S.C. § 1681g(a)(1). A report narrowly confined to one category of information

 

'’ The interpretation and enforcement of the FCRA transferred from the FTC to the Consumer Financial Protection
Bureau (“CFPB”) after passage of the Consumer Financial Protection Act of 2010. In preparation for the transition
in July 2011, the FTC published the “40 Years of Experience with the Fair Credit Reporting Act-An FTC Staff
Report with Summary of interpretations” (“40 Years Commentary”). The report stated that the CRA must disclose
all items in the consumers file, but that “ancillary records”, for example “a CRA’s audit trail of changes it makes in
the consumers file, billing records, or the contents of a consumer relations folder, are not included in the term
‘information in the consumer’s file.” See 40 Years Commentary, p.71

'8 Such as 15 U.S.C. § 1681c

Complaint for Violations of the FCRA Page 15 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.360 Page 16 of 26

does not mean it is necessarily a disclosure of all information recorded and retained in a CRA’s
file regrading a consumer at the time the report is generated. A credit report is not the only
consumer report that is created from information in the CRA’s file(s). The plain language of the
FCRA requires, among other obligations, that CRA’s “clearly and accurately disclose” to a
requesting consumer ‘[a]l] information in the consumer’s file at the time of the request .” 15
U.S.C. § 1681g(a)(1). The Court should note that it does not say all Credit information in the
file...(emphasis added) All information means just that... ALL information outside the
exclusions as stated I § 1681g(a)(1)(B) and § 1681 g(a){2).

Mr. Spencer has pointed out that a legal “mandate” set forth as a “requirement” under law
was not performed after conditions precedent to the requirement were met and the corresponding
required action to trigger such an obligation under law took place. 15 U.S.C. § 1681g is just
such a “mandate”. Mr. Spencer has provided facts and exhibits which demonstrate the truth of
his allegations and by the plain language of the law his complaint does not rise to the level of a
legal conclusion. The Efx. Defendants, by conflating language and use of a non-analogous case
(Gillespie) would have the Court accept that congress did not mean exactly what it said but
meant to use words that are simply not there!®.

The Gillespie case is a glaring misdirection. First Gillespie Plaintiff was pursuing what
the statute clearly outlines as “ancillary information” which, since it could not be included in any
report shared with a third party under any circumstances, does not have to be shared with the
consumer either. Plaintiff's request letters were unquestionably explicit as to what he was asking
for and it was not “ancillary information.” The language used in his requests was directly quoted
from the statute. [Doc. 16, Ex.1-2] The tactics employed by Efx. Defendants in this case arise
from two maneuvers; first to misrepresent the language of the statute and the interpretation of it
within the FTC’s official publication and second, they fail to note other controlling sections in
regard to 1681g in the statute which are relevant.

The FCRA defines many different types of “files” all of which are considered to be
“consumer files”, ie; investigative, employment, insurance related reports etc. however it is quite

specific in relation to section 1681g. There the definition is clear (page 31 of 40 yrs. Doc.):

 

19 Congress knows how to mandate disclosure of the full contents of a consumer’s file when it intends to require
such disclosure. See, e.g., Barnhart v. Sigmon Coal Co., Inc., 534 U.S.438, 452, 122 S. Ct. 941, 151 L.Ed.2d 908
2002) (stating “when Congress includes particular language in one section of a statute but omits it in another section
of the same Act, it is generally presumed that Congress acts intentionally and purposely in the disparate inclusion or
exclusion”) (internal quotation marks and citation omitted).

Complaint for Violations of the FCRA Page 16 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.361 Page 17 of 26

Section 603g defines “file” when used in connection with information on any consumer,
to mean “all of the information on that consumer recorded and retained by a consumer

reporting agency regardless of how the information is stored.””°

The definition does Not contain the words “consumer file” or “credit”. The definition does not
identify any type or sub-type of information, particular type of file or limitation as to the type of
information contained in a file.

In addition, the FTC interpretation takes the definition of what information is referred to
by section 1681g even further (page 32 of 40 years doc.) under “SCOPE”:

“The term “file” includes all information on the consumer that is recorded and retained by a
CRA-regardless of how the information is stored — that has been or might be provided in a
consumer report on the consumer. The term includes such information that a CRA has kept for

archival purposes, because the definition includes all data “retained” and “stored” by the CRA.”

The phrase “has been or might be” is key. Section 605(a) places time limits beyond which
CRA’s cannot Include information in consumer reports, subject to exceptions set forth in 605(b).
Two sub-sections of 605(a) are key to the type of information retained in a CRAs files on a
consumer which cannot be included in a conventional “credit report” such as can be obtained by
a consumer through annualcreditreport.com, with important exceptions that the average

consumer is not even aware of (page 55 of 40 yrs doc.):

PROVISION LIMITED TO “ADVERSE” INFORMATION
4. The seven-year reporting period applies only to “adverse” information that casts the consumer
in a negative or unfavorable light. CRAs are not bound by that seven-year limit in reporting dates

of employment and educational histories, because such dates are not “‘adverse” information.

RETENTION OF INFORMATION IN FILES

 

20 httns://www. fic. govw/sites/default/files/documents/reports/40-years-experience-fair-credit-reporting-act-ftc-staff-
report-summary-interpretations/1 ]0720fcrareport.pdf (last visited 5/21/18)

Complaint for Violations of the FCRA Page 17 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.362 Page 18 of 26

5. CRAs may retain adverse information described in subsection (a) and furnish it in reports for
purposes that are exempt under subsection (b), described below. For example, the CRA may
retain obsolete information for the purpose of furnishing it to persons engaged in (1) credit
transactions or the underwriting of life insurance involving

a principal amount of $150,000 or more, or (2) the employment of any individual with an annual
salary expected to equal $75,000 or more. (emphasis added)

Section 605(b) states that the time period limitations in section 605(a) “are not applicable in the
case of any consumer credit report to be used in connection with (1) a credit transaction
involving, or which may reasonably be expected to involve a principle amount of $150,000 or
more ; (2) the underwriting of life insurance involving, or which may reasonably be expected to
involve, a face amount of $150,000 or more; (3) the employment of any individual at an annual
salary which may reasonably be expected o equal $75,000, or more.”

These sections would lead even an unsophisticated reader to understand that when
information is “deleted” by reason of time limit prohibitions for inclusion in a credit report it
isn’t really “deleted” at all. Rather it is “suppressed” and “may have been or might be”
disclosed without the consumer’s knowledge to a third party under certain circumstances. This
is just one example of the type of information which might be “archived” or considered
“obsolete” by the CRA. Section 1681g clearly states that this information must be disclosed to
the consumer when that consumer properly asks for it.

As the FCRA defines “file” at 15 U.S.C. § 1681a(g), it couldn’t be any clearer as to what
must be provided upon a consumer’s PROPER request. The Seventh Circuit has held that,
although a consumer’s “entire file” need not be disclosed upon request; “complete copies of their
consumer reports” must be disclosed . The court should note the plural nature of “reports.”?!

The United Sates Court of Appeals for the Third Circuit has ruled that a CRA may not
evade disclosure requirements by, for example, “contracting with a third party to store and
maintain information that would otherwise clearly be part of the consumer’s file and is included
in a credit report,” Cortez v. Trans Union, LLC, 617 F.3d 688, 711 (3d Cir. 2010), or by using

“[c]orporate organizatins, reorganization, structure, or restructuring.” to circumvent reporting

 

21 | .”[t]he term ‘file’ denotes all information on the consumer that is recorded and retained by a consumer reporting
agency that might be furnished, or has been furnished, in a consumer report on that consumer.” Gillespie v. Trans
Union Corp., 482 F.3d 907, 909 (7" Cir.2007) (emphasis in original) (citing 16 C.F.R. pt. 600, app. § 603).

Complaint for Violations of the FCRA Page 18 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.363 Page 19 of 26

requirements. 12 C.F.R. § 1022.140(a). Jones v. Equifax No. 3:15-cv-112-RJC-DSC United
States Court, W.D. North Carolina, Charlotte Division April 11, 2016. Defendant’s has the
audacity to admit in their own argument that they poses archived information related to Mr.
Spencer and makes the conclusory statement, “Nonetheless, to the extent such archived
information exists, it is not part of the file to be produced under §1681g as interpreted by the
FTC and courts” [Doc. 24, § 16] This may be true using the convoluted arguenets put forth by
the Defendants but when looking at the plain language of the statutes and analogous case law as
elucidated by Plaintiff Efx. Defendants argument has no merit and in some instances is just

downright misleading, to say the least! And should be dismissed by the Court.

B. Mr. Spencer admits he received a copy of his credit report/disclosure from Equifax.

Plaintiff did receive his credit report. Plaintiff did not receive his full consumer file
disclosure as he requested pursuant to 15 U.S.C. § 1681g(a)(1). Which sates the consumer is
intitled to “[a]ll information in the consumers file at the time of the request.” The FCRA clearly
defines “file” as “all of the information on that consumer recorded and retained by a consumer
reporting agency regardless of how the information is stored 15 U.S.C. § 1681a(g). Unless
defendants has no other information related to Mr. Spencer in it’s files whether it has been or
might be furnished in a consumer report of any kind then Efx has not provided him with his full
consumer file disclosure. If Efx has given Plaintiff ALL the information that they have in their
files related to Mr. Spencer why don’t they just categorically state this in their motion to dismiss
not only do they not state this, after presenting a “red herring” case, Gellespie, in an attempt to
distort the meaning the statute 1681g they actually admit to having more information related to
Mr. Spencer, making the conclusory Statement “Nonetheless, to the extent such archived
information exists it is not apart of the file to be produced under §1681g...” [Doc. 24, pg.16]
(emphasis added).

It is not reasonable to believe Efx collects and maintains consumer information on hundreds

of millions of consumers for decades and Mr. Spencer be the exception to this. Mr. Spencer is

 

22 https://www.inc.com/associated-press/equifax-data-money.html (last visited 5/23/18)
“The company and its competitors have in their files the personal financial information of tens of millions of
Americans like you, going back decades.....

Complaint for Violations of the FCRA Page 19 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.364 Page 20 of 26

48 years young and has lived in many different rental properties had utilities, cell phone and land
line phone services and car insurances, etc. Is it not reasonable to believe that Efx. Defendants
possess more information than what was provided to hm in his credit report? I would like to
remind Defendant that I did receive a Lexis Nexus report and it did have information contained
in it relating Mr. Spencer that was provided by Equifax to Lexis Nexus but not provided to Mr.
Spencer when he requested his full consumer file disclosure this is simply a hard fact, See
Exhibit 4, definitively showing that Efx has more information that it is selling to other companies
and refusing to provide to Mr. Spencer upon his lawful request. Equifax is in the business of
using Mr. Spencer as a commodity selling information about him but could care less if the
information they have is accurate and want to deny him the opportunity to review whatever
information they have for accuracy which is his right under the FCRA.

Defendant brings fourth more case law that is un-analogous and un-comparable to Mr.
Spencer’s complaint; in Wantz v. Experian info. Solutions, Wantz was disputing the accuracy
of specific information in his credit report and the Courts decision was rendered at the summary
judgement stage of litigation; in Pettway v. Equifax info. Servs., LLC again the plaintiff was
disputing the accuracy of information within their credit report and the Courts decision was
rendered at the summary judgement stage. It is inappropriate to site cases that were decided on
in summary judgement to support a motion to dismiss and both cases are dealing with
completely diff. issues. Mr. Spencer has gone far and beyond what is necessary in support of his
case being allowed by the Court to move forward and being given at least the opportunity to
flush out more of the truth than he already has.

Plaintiff asks the Court to appreciate the simplicity if this case and note that it isn’t about
whether any information related to Mr. Spencer that the Efx Defendants have or may have
provided to a third party is accurate or not. The issue here is whether there was information in
the Efx Defendants’ file(s) at the time of Mr. Spencer’s request that was required to have been
provided to him pursuant to his lawful request and was not. That is the sole claim in this lawsuit
and the only issue before this Court. Defendants’ argument that Mr. Spencer received his full
consumer file disclosure that he specifically requested has no merit and should be rejected by the

Court.

 

It's also incredibly difficult to opt out of the system. You could live an all-cash lifestyle, never requesting credit
from any bank, but still wind up with your information in the hands of the credit companies through less-obvious
sources like cable or phone companies, property tax bills, or doctors’ offices.....”

Complaint for Violations of the FCRA Page 20 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.365 Page 21 of 26

The Efx. Defendants’ argue that by Plaintiff's own admission they complied with §
1681g(a)(1) and relevant federal precedent. Plaintiff has shown that they have done no such
thing and actually have attempted to distort the record with factual inaccuracies. Efx. Defendants
erroneously argue that Plaintiff admits he received his full consumer file disclosure when he
received is a copy of his credit report and the Court should grant dismissal based on this
extremely distorted, misleading, and wholly improper argument, considering the facts brought to

light at this stage of litigation.

C. Mr. Spencer provides no factual basis for his assertion that the “credit report” he

received was not his “full consumer file disclosure”

In the past Mr. Spencer used the website annualcreditreport.com to request a copy of his credit
report and is fully aware of what information is included in one. He knew that if he wanted
further information he would have to make a specific request for it. As stated in his FAC after
the hack of Equifax’s database, the extensive media attention and public outcry it created, Mr.
Spencer became even more aware that there appeared to be additional information about a
consumer in a CRA’s files than what was provided in a credit report which could be obtained
online. This caused him to research further, Mr. Spencer discovered an abundance of public
domain information that indicated there was more information that the CRA’s held on consumers
than was being disclosed in credit reports provided by them either through the website or directly
upon request to the individual CRA’s. Of course, if a consumer only requests their credit report
and that is provided to them electronically or in a hard copy through the mail in response then the
request has been satisfied.

Substantial reading and research revealed there was considerable amount of information
being provided about consumers to a host of entities and persons that was not necessarily directly
related to specific credit accounts such as credit cards, car loans, payroll advances, or mortgages.
Much of that information would certainly come under the purview of 15 U.S.C. § 1681a(d)
“character, general reputation, personal characteristics, or mode of living”, all of which may
most certainly be used to factor a consumer’s eligibility for credit, insurance, home rentals and
even deposit amounts for utilities or could prevent a consumer from obtaining all or any of the

foregoing as well as numerous other aspects of a person’s life.

Complaint for Violations of the FCRA Page 21 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.366 Page 22 of 26

One very disturbing case involved false and derogatory information in a consumer’s file
causing a consumer extreme embarrassment and expense even to the point of having his auto
insurance canceled because of a credit report provided by O’Hanlon Reports, Inc., a CRA.”?7 The
information was later found to be patently false and uncorroborated.

Plaintiff was very distressed to know that such damaging false information was possessed
and recklessly used by a CRA. Further research revealed there were many other cases brought in
several jurisdictions involving erroneous criminal or false employment information provided by
CRA’s to potential landlords or employers causing consumers to be denied housing or
employment as a result. Based on Plaintiff's research it is clear as day that there is more
information being provided to certain customers of CRA’s than just current credit accounts that a
consumer receives in a “credit report” (by any name) and in a number of cases that information
was erroneous with negative consequences, sometimes extremely harmful to the consumer.

The facts demonstrate that the Efx. Defendants are not merely a Credit Reporting
Agency. Equifax, Inc., and EIS operate as one entity and are a Consumer Reporting Agency
under the FCRA. They collect maintain and sell an abundance of Consumer information having
the ability to impact lives that is not just credit information. They respond with a current credit
report when a lawful request is made for a Full Consumer File Disclosure of All information.
Then to escape liability, seek to convince the courts their actions are in compliance with the
FCRA. For far too long Equifax and other major CRA’s have carefully conditioned court’s,
regulators and the public to think of a full file disclosure (precisely what a consumer is entitled to
and Mandated by law when a proper request is made) as a credit report containing only certain
current but no archived information and is not representative of all information they retain
about consumers keeping the information potentially subject to dispute minimal. Undoubtedly
minimizing costs, in the name of profits is a powerful incentive. What a consumer doesn’t know
and can’t dispute, can’t hurt the bottom line of the company. Avoiding consumer disputes of

information which might be erroneous is healthy for a CRA’s bottom line even if by doing so the

 

23 "The file shows that you are very much disliked by your neighbors at that location [Millstone's Washington
residence], and were considered to be a ‘hippy type’. The file indicates that you participated in many demonstrations
in Washington, D. C., and that you also housed out-of-town demonstrators during demonstrations. The file indicates
that these demonstrators slept on floors, in the basement and wherever else there was room on your property. The
file shows that you were strongly suspected of being a drug user by neighbors but they could not positively
substantiate these suspicions. You are shown to have had shoulder length hair and a beard on one occasion while
living in Washington, D. C. The file indicates that there were rumors in the neighborhood that you had been evicted
by neighbors from three previous residences in Washington, D. C. prior to living at the 48th Street, N. W. location."

Complaint for Violations of the FCRA Page 22 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.367 Page 23 of 26

public is kept I the dark; unaware of what harm the results of such deception they may be already
suffering. Mr. Spencer has a right under law to see ALL information in his consumer files(s) to
review it for accuracy and dispute anything that is erroneous. That is all that he is interested in.

The annualcreditreport.com website (created and maintained by the major CRA’s ) has
NO place on it where a consumer can request their full consumer file disclosure but instead only
provides the consumer with the option to request a credit report. See Exhibit 5 but according
to Defendant’s Motion to Dismiss “[t]here cannot be a consumer report without delivery to a
third party.” then they go on to say “[a] credit report goes to a third party.” [Doc. 24, 416-17]
completely contradicting the website. If congress intended that consumers receive only a credit
report, it would have stated exactly that in the statute rather than being very specific in the
language of § 1681¢.2> The truth is revealed with a common sense reading of the plain language
of the statute.

There are multiple types of consumer reports that are generated by the CRA’s based on
information they have n their files regarding such things as rental history, criminal background,
public records, employment etc. so he argument that all the Efx. Defendants had to do is provide
information to Mr. Spencer that is specific to one particular type (a credit report) is fatally
flawed. Mr. Spencer is entitled to all the pieces of puzzle, not just one piece of it, so that he may
get a clear picture of how the CRA’s are painting him. Defendants Quoted plaintiff's FAC
[Doc.24, pg.18] but leaves out the part that says “[D]efendants have far more information
relating to Plaintiff in their file(s) and/or database(s) including archived information...” [Doc.
16, 941] Plaintiff has shown that indeed Efx. Defedants do have archived information relating to
Plaintiff. Exhibit 4

The case law that the Efx. Defendants cite in their argument is off point, not analogous
and not persuasive at minimum. In fact, Cassidy v. Teaching Co. LLC. Judge Graham sates “[i]n
the Court’s view, most of the Plaintiff's allegations made upon “information and belief” are
plausible inferences based on the Plaintiff's factual allegations.” Then goes on to allow

Plaintiff's individual claim to proceed. Mr. Spencer’s allegations are not just plausible

 

24 https://www.annualcreditreport.com/index.action (last visited on 5/25/18)

23 Congress knows how to mandate disclosure of the full contents of a consumer’s file when it intends to require
such disclosure. See, e.g., Barnhart v. Sigmon Coal Co., Inc., 534 U.S.438, 452, 122 S. Ct. 941, 151 L.Ed.2d 908
2002) (stating “when Congress includes particular language in one section of a statute but omits it in another section
of the same Act, it is generally presumed that Congress acts intentionally and purposely in the disparate inclusion or
exclusion”) (internal quotation marks and citation omitted).

Complaint for Violations of the FCRA Page 23 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.368 Page 24 of 26

inferences he backed his allegations up with exhibits. Mr. Spencer’s Lexis Nexis full file
disclosure contained a substantial amount of information that was sourced from Equifax, Exhibit
4. Mr. Spencer’s Lexis Nexus full file disclosure “[c]ontained about 86 pgs. Of consumer
information including 10 individual reports See Exhibit 6” Mr. Spencer Factually alleged this in
his FAC, [Doc. 16, 37, Ex. 6]. The Efx Defendants do not deny they provided the information
contained in the Lexis Nexis report, They can’t. It is logical and reasonable to believe upon the
information presented by Mr. Spencer that Equifax has more information related to Mr. Spencer
than the mere 16 pg. correspondence that was provided to him by Equifax. The Efx defendants
arguments have absolutely no merit when looking at the facts on the record, and Plaintiff's First

Amended Complaint. Their motion should be denied in its entirety.

Conclusion

Efx. Defendants, know full well as a major long term player in the consumer reporting agency
arena what the requirements of the FCRA are. They also know whether they have any
information in their files that relates to Mr. Spencer that was not disclosed to him after his lawful
request. Efx. Defendants should not be allowed to get away with first distorting the meaning of
§ 1681g then basing a claim that under this distortion they have complied with the law, they have
not, and they also have not denied that they provided information to Lexus Nexus in their Motion
to Dismiss. At this point with all the information provided by the Plaintiff in support of his FAC
any reasonable person including the Court can assume there would be more information that was
not disclosed as required under 15 U.S.C. § 1681g. Efx. Defendants’ Motion to Dismiss should

be denied and this case should go forward to Discovery to answer that question factually.

WHEREFORE, because the Defendants have failed to bring forth any cognizable or
legitimate arguments for dismissal before this Honorable Court, Plaintiff respectfully requests
the Court DENY their Motion to Dismiss and allow Plaintiff's claim to move forward to trail on
the merits. In the event the Court finds that Plaintiff has failed to state a claim as alleged by the
Efx. Defendants, Plaintiff requests leave of this court to file an Amended Complaint to cure any
deficiencies identified by the Court.

Complaint for Violations of the FCRA Page 24 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.369 Page 25 of 26

Respectfully Submitted,

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Complaint for Violations of the FCRA Page 25 of 25
Case 1:18-cv-00194-PLM-PJG ECF No. 26 filed 05/29/18 PagelD.370 Page 26 of 26

I hereby certify that a true and correct copy of the foregoing document was sent to
the parties listed below via 1“ class USPS on the date below.

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Dated May 29, 2018

LLL LLC] .

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Complaint for Violations of the FCRA Page | of 1
